                                                                               Case 3:07-cv-05944-JST Document 2252 Filed 12/11/13 Page 1 of 17




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                                                                          6                        IN THE UNITED STATES DISTRICT COURT
                                                                          7                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                              IN RE: CATHODE RAY TUBE (CRT)            )   MDL No. 1917
                                                                          9   ANTITRUST LITIGATION                     )
                                                                                                                       )   Case No. C-07-5944-SC
                                                                         10                                            )
                               For the Northern District of California
United States District Court




                                                                                                                       )   ORDER DENYING MOTION TO
                                                                         11   This Order Relates To:                   )   DISMISS FOR LACK OF
                                                                                                                       )   PERSONAL JURISDICTION AND
                                                                         12     Case No. C-13-1173 SC                  )   GRANTING MOTION FOR
                                                                                                                       )   JURISDICTIONAL DISCOVERY
                                                                         13     SHARP ELECTRONICS CORP. and            )
                                                                                SHARP ELECTRONICS MANUFACTURING        )
                                                                         14     COMPANY OF AMERICA, INC.,              )
                                                                                                                       )
                                                                         15                          Plaintiffs,       )
                                                                                                                       )
                                                                         16             v.                             )
                                                                                                                       )
                                                                         17        HITACHI LTD., et al,                )
                                                                                                                       )
                                                                         18                          Defendants.       )
                                                                                                                       )
                                                                         19                                            )
                                                                         20
                                                                         21
                                                                         22
                                                                         23   I.     INTRODUCTION
                                                                         24          Now before the Court is Defendant Thomson S.A.'s ("Defendant")
                                                                         25   motion to dismiss the above-captioned Sharp Plaintiffs'
                                                                         26   ("Plaintiffs") complaint for lack of personal jurisdiction.          Case
                                                                         27   No. 13-1173 ECF No. 1 ("Compl."), Case No. 07-5944 ECF No. 1765
                                                                         28   ("MTD").       The motion is fully briefed.    Case No. 07-5944 ECF Nos.
                                                                                  Case 3:07-cv-05944-JST Document 2252 Filed 12/11/13 Page 2 of 17




                                                                          1   1835 ("Opp'n") (filed under seal), 1875 ("Reply"). 1            Finding this
                                                                          2   matter suitable for disposition without oral argument, Civ. L.R. 7-
                                                                          3   1(b), the Court DENIES WITHOUT PREJUDICE Defendant's motion to
                                                                          4   dismiss Plaintiffs' complaint and GRANTS Plaintiffs' motion for
                                                                          5   jurisdictional discovery for the reasons explained below.
                                                                          6
                                                                          7 II.       BACKGROUND
                                                                          8           Defendant is a French holding company with its principal place
                                                                          9   of business is in Issy-les-Moulineaux, France.            Compl. ¶ 72.
                                                                         10   Thomson Consumer Electronics Corporation ("Thomson Consumer") 2 is a
                               For the Northern District of California
United States District Court




                                                                         11   wholly owned subsidiary of Defendant, through which Plaintiffs
                                                                         12   allege Defendant manufactured cathode ray tubes ("CRTs"), the goods
                                                                         13   at issue in this antitrust MDL.          Id.   Plaintiffs contend that
                                                                         14   "[Defendant] dominated and/or controlled the finances, policies,
                                                                         15   and/or affairs of [Thomson Consumer] relating to the antitrust
                                                                         16   violations alleged in [Plaintiffs' Complaint]."             Id. ¶ 73.   Thomson
                                                                         17   Consumer is based in Indiana, but its United States CRT plants
                                                                         18   closed in 2004.       Id.
                                                                         19           According to Plaintiffs, Defendant "sold its CRTs internally
                                                                         20   to its television-manufacturing division, which had plants in the
                                                                         21
                                                                              1
                                                                         22     In its reply brief, Defendant provides two new declarations, to
                                                                              which Plaintiffs object on the grounds that Defendant cannot
                                                                         23   present new evidence on reply, per Civil Local Rule 7-3(d)(1). ECF
                                                                              No. 1890. The Court SUSTAINS Plaintiffs' objections. Defendant
                                                                         24   knew that its reply evidence was pertinent to this dispute and
                                                                              should have presented it earlier, providing Plaintiffs with an
                                                                         25   opportunity to respond. In any event, the Court does not find the
                                                                              declarations at issue dispositive of the parties' dispute.
                                                                         26   2
                                                                                Plaintiffs' Complaint refers to Defendant and Thomson Consumer
                                                                         27   collectively as "Thomson," but since resolution of this motion
                                                                              requires the Court to evaluate the two entities' relationships and
                                                                         28   connections to this jurisdiction, the Court refers to them
                                                                              separately.


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                                                                               Case 3:07-cv-05944-JST Document 2252 Filed 12/11/13 Page 3 of 17




                                                                          1   United States and Mexico, and to other television manufacturers in
                                                                          2   the United States and elsewhere."         Id. ¶ 72.    Defendant sold its
                                                                          3   CRT business in 2005, but Plaintiffs allege that between March 1,
                                                                          4   1995, and December 2007, Defendant "manufactured, marketed, sold
                                                                          5   and/or distributed [products containing CRTs ("CRT Products")]
                                                                          6   either directly or through its subsidiaries or affiliates
                                                                          7   throughout the United States."       Id.
                                                                          8          Plaintiffs sued Defendant under federal and state antitrust
                                                                          9   laws.    Defendant now moves to dismiss for lack of personal
                                                                         10   jurisdiction.    Defendant filed a declaration from its current
                               For the Northern District of California
United States District Court




                                                                         11   General Secretary with its motion.         ECF No. 1765-1 ("Cadieux
                                                                         12   Decl.").    That declaration states (among other things) that
                                                                         13   Defendant is purely a holding company, with no operations, offices,
                                                                         14   employees, property, books, records, bank accounts, agents,
                                                                         15   registrations, or business activities in the United States.            Id. at
                                                                         16   2-3.    It also asserts that Defendant has never manufactured CRTs or
                                                                         17   CRT Products in the United States or elsewhere, and that Defendant
                                                                         18   and Thomson Consumer maintain separate corporate structures,
                                                                         19   offices, finances, and business activities.           Id.   According the the
                                                                         20   declaration, Thomson Consumer -- over which the Court undisputedly
                                                                         21   has jurisdiction -- was solely responsible for CRT sales,
                                                                         22   marketing, and pricing in the United States.           Id. at 3.
                                                                         23
                                                                         24 III.     LEGAL STANDARD
                                                                         25          Under Rule 12(b)(2) of the Federal Rules of Civil Procedure,
                                                                         26   defendants may move to dismiss for lack of personal jurisdiction.
                                                                         27   The Court may consider evidence presented in affidavits and
                                                                         28   declarations determining personal jurisdiction.             Doe v. Unocal



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                                                                                  Case 3:07-cv-05944-JST Document 2252 Filed 12/11/13 Page 4 of 17




                                                                          1   Corp., 248 F.3d 915, 922 (9th Cir. 2001).            Plaintiff bears the
                                                                          2   burden of showing that the Court has personal jurisdiction over
                                                                          3   Defendants.      See Pebble Beach Co. v. Caddy, 453 F.3d 1151, 1154
                                                                          4   (9th Cir. 2006).       "[T]his demonstration requires that the plaintiff
                                                                          5   make only a prima facie showing of jurisdictional facts to
                                                                          6   withstand the motion to dismiss."            Id. (quotations omitted).
                                                                          7   "[T]he court resolves all disputed facts in favor of the plaintiff
                                                                          8   . . . ."      Id. (quotations omitted).       "The plaintiff cannot simply
                                                                          9   rest on the bare allegations of its complaint, but uncontroverted
                                                                         10   allegations in the complaint must be taken as true."             Mavrix Photo,
                               For the Northern District of California
United States District Court




                                                                         11   Inc. v. Brand Techs., Inc., 647 F.3d 1218, 1223 (9th Cir. 2011)
                                                                         12   (quotations and citations omitted).           The Court may not assume the
                                                                         13   truth of allegations that are contradicted by affidavit.               Data
                                                                         14   Disc, Inc. v. Sys. Tech. Assocs., Inc., 557 F.2d 1280, 1284 (9th
                                                                         15   Cir. 1977).
                                                                         16           Courts may exercise personal jurisdiction over a defendant
                                                                         17   only if (1) a statute confers jurisdiction and (2) exercising
                                                                         18   jurisdiction would comport with constitutional due process.               See
                                                                         19   Action Embroidery Corp. v. Atlantic Embroidery, Inc., 368 F.3d
                                                                         20   1174, 1177 (9th Cir. 2004).         Since the federal Clayton Act, 15
                                                                         21   U.S.C. § 22, 3 fulfills the statutory requirement for jurisdiction
                                                                         22
                                                                              3
                                                                         23     The statute reads in relevant part: "Any suit, or proceeding
                                                                              under the antitrust laws against a corporation may be brought not
                                                                         24   only in the judicial district whereof it is an inhabitant, but also
                                                                              in any district wherein it may be found or transacts business;
                                                                         25   and all process in such cases may be served in the district of
                                                                              which it is an inhabitant, or wherever it may be found." Under the
                                                                         26   Clayton Act, the basis for minimum contacts inquiry is the United
                                                                              States -- not an individual state -- because that statute provides
                                                                         27   for nationwide service of process. The Court finds on this point
                                                                              that exercise of pendent jurisdiction over Plaintiffs' state law
                                                                         28   claims is appropriate. See Action Embroidery, 368 F.3d at 1180-81;
                                                                              see also Oetiker v. Jurid Werke, G.m.b.H., 556 F.2d 1, 4-5 (D.C.


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                                                                               Case 3:07-cv-05944-JST Document 2252 Filed 12/11/13 Page 5 of 17




                                                                          1   in this case, the question on this motion is whether exercising
                                                                          2   jurisdiction would comport with due process.         For a court to
                                                                          3   exercise personal jurisdiction over a non-resident defendant
                                                                          4   consistent with due process, the defendant must have "certain
                                                                          5   minimum contacts" with the relevant forum "such that the
                                                                          6   maintenance of the suit does not offend 'traditional notions of
                                                                          7   fair play and substantial justice.'"        Int'l Shoe Co. v. Washington,
                                                                          8   326 U.S. 310, 316 (1945) (quoting Milliken v. Meyer, 311 U.S. 457,
                                                                          9   463 (1940)).   If a defendant has sufficient minimum contacts,
                                                                         10   personal jurisdiction may be founded on either general jurisdiction
                               For the Northern District of California
United States District Court




                                                                         11   or specific jurisdiction.      Panavision Int'l, L.P. v. Toeppen, 141
                                                                         12   F.3d 1316, 1320 (9th Cir. 1998).
                                                                         13
                                                                         14 IV.    DISCUSSION
                                                                         15        A.    General Jurisdiction
                                                                         16        General jurisdiction applies where a defendant's activities in
                                                                         17   the state are "substantial" or "continuous and systematic," even if
                                                                         18   the cause of action is unrelated to those activities.           Data Disc,
                                                                         19   557 F.2d at 1287.
                                                                         20              For general jurisdiction to exist over a
                                                                                         nonresident defendant . . . , the defendant
                                                                         21              must engage in "continuous and systematic
                                                                                         general business contacts," . . . that
                                                                         22              "approximate physical presence" in the forum
                                                                                         state . . . . This is an exacting standard,
                                                                         23              as it should be, because a finding of
                                                                                         general jurisdiction permits a defendant to
                                                                         24              be haled into court in the forum state to
                                                                                         answer for any of its activities anywhere in
                                                                         25              the world.
                                                                         26
                                                                         27   Cir. 1977). Those claims arise out of the same nucleus of
                                                                              operative facts as Plaintiffs' federal claims, see id., and the
                                                                         28   Court finds that judicial economy, fairness, and convenience
                                                                              counsel in favor of retaining jurisdiction over all claims.


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                                                                               Case 3:07-cv-05944-JST Document 2252 Filed 12/11/13 Page 6 of 17




                                                                          1   Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 801 (9th
                                                                          2   Cir. 2004) (citations omitted).       This is a high standard.      The
                                                                          3   Ninth Circuit has regularly declined to find general jurisdiction
                                                                          4   even where the contacts were quite extensive.         See, e.g., Amoco
                                                                          5   Egypt Oil Co. v. Leonis Navigation Co., 1 F.3d 848, 851 n.3 (9th
                                                                          6   Cir. 1993) (citing cases).      "Factors to be taken into consideration
                                                                          7   are whether the defendant makes sales, solicits or engages in
                                                                          8   business in the state, serves the state's markets, designates an
                                                                          9   agent for service of process, holds a license, or is incorporated
                                                                         10   there."   Bancroft & Masters, Inc. v. Augusta Nat'l, Inc., 223 F.3d
                               For the Northern District of California
United States District Court




                                                                         11   1082, 1086 (9th Cir. 2000).
                                                                         12        Generally, the existence of a parent-subsidiary relationship
                                                                         13   "is not sufficient to establish personal jurisdiction over the
                                                                         14   parent on the basis of the subsidiaries' minimum contacts with the
                                                                         15   forum."   Unocal, 248 F.3d at 925.        However, "if the parent and
                                                                         16   subsidiary are not really separate entities [i.e., alter egos], or
                                                                         17   one acts as an agent of the other, the local subsidiary's contacts
                                                                         18   with the forum may be imputed to the foreign parent corporation."
                                                                         19   Id. at 926 (quotations omitted).
                                                                         20        Plaintiffs argue that the Court should exercise general
                                                                         21   jurisdiction over Defendant because Thomson Consumer is Defendant's
                                                                         22   agent, and Thomson Consumer is within the Court's general
                                                                         23   jurisdiction.    See Opp'n at 12-18.      Plaintiffs do not argue that
                                                                         24   Defendant is subject to general jurisdiction in its own right,
                                                                         25   though they reserve the right to make that argument pending
                                                                         26   jurisdictional discovery.      Id. at 18 n.17.
                                                                         27        In support of their agency argument, Plaintiffs contend that
                                                                         28   Defendant is not a mere holding company, since Defendant's



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                                                                               Case 3:07-cv-05944-JST Document 2252 Filed 12/11/13 Page 7 of 17




                                                                          1   executive officers during the conspiracy period had titles
                                                                          2   reflecting operational responsibilities, and several of Defendant's
                                                                          3   executives served on Thomson Consumer's board, suggesting that
                                                                          4   Defendant performed direct operational and oversight functions for
                                                                          5   Thomson Consumer.    Id. at 14-15.     Plaintiffs also claim that
                                                                          6   Defendant had control over Thomson Consumer because Plaintiffs
                                                                          7   alleged that Defendant "dominated or controlled Thomson Consumer's
                                                                          8   finances, policies, and/or affairs."        Compl. ¶ 73.    Here,
                                                                          9   Plaintiffs cite facts from their exhibits, stating that there was
                                                                         10   overlap between Defendant and Thomson Consumer's executive officers
                               For the Northern District of California
United States District Court




                                                                         11   and board; that the United States CRT market was so important to
                                                                         12   Defendant that it would have been directly involved in it if not
                                                                         13   for Thomson Consumer; and that some of Defendant's executive
                                                                         14   officers worked from Thomson Consumer's United States office.          Id.
                                                                         15   at 15-16.
                                                                         16        Defendant argues that the declaration of its General Secretary
                                                                         17   controverts all of Plaintiffs' allegations.         Specifically,
                                                                         18   Defendant claims that it is located in France and has no
                                                                         19   operations, employees, bank accounts, registered agents for
                                                                         20   process, or offices in the United States.         MTD at 5-6 (citing
                                                                         21   Cadieux Decl. ¶¶ 4, 6-7, 8, 10-11, 13).        Defendant also points to a
                                                                         22   declaration and SEC filing -- filed as exhibits to Plaintiff's
                                                                         23   opposition -- stating that Defendant is and has always been a mere
                                                                         24   holding company, with its principal assets being "the stock of its
                                                                         25   subsidiaries," and that the holding company's principal function
                                                                         26   was to perform corporate activities and secure financing for its
                                                                         27   subsidiaries.    Reply at 2 (citing Opp'n Exs. T ¶ 4, HH at 152).
                                                                         28   Defendant concludes that Thomson Consumer was merely an investment,



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                                                                               Case 3:07-cv-05944-JST Document 2252 Filed 12/11/13 Page 8 of 17




                                                                          1   and that in any event, Defendant lacked control over Thomson
                                                                          2   Consumer.
                                                                          3        Much of Defendant's argument concerns the import of two Ninth
                                                                          4   Circuit cases concerning foreign defendants' agents and general
                                                                          5   jurisdiction.    In Doe v. Unocal Corp., the Ninth Circuit held, "The
                                                                          6   existence of a relationship between a parent and its subsidiaries
                                                                          7   is not sufficient to establish personal jurisdiction over the
                                                                          8   parent on the basis of the subsidiaries' minimum contacts with the
                                                                          9   forum."   248 F.3d at 925.     Relying on the fundamental principle of
                                                                         10   corporate separateness, by which corporations are distinct entities
                               For the Northern District of California
United States District Court




                                                                         11   from their shareholders over which jurisdiction must be established
                                                                         12   individually, the Unocal Court found a distinction between active
                                                                         13   parent corporations, involved directly in decision-making about
                                                                         14   their subsidiaries' holdings, and "super-corporations," which exert
                                                                         15   so much control over their subsidiaries that the subsidiaries'
                                                                         16   presence substitutes for the parent's.        Id. at 928-30.
                                                                         17        The Unocal Court relied on a body of Ninth Circuit law holding
                                                                         18   that a subsidiary functions as a parent corporation's
                                                                         19   representative if it performs services that are "sufficiently
                                                                         20   important to the foreign corporation that if it did not have a
                                                                         21   representative to perform them, the corporation's own officials
                                                                         22   would undertake to perform substantially similar services."          See
                                                                         23   id. at 929-30 (citing Chan v. Society Expeditions, Inc., 39 F.3d
                                                                         24   1398, 1405 (9th Cir. 1994)); see also Wells Fargo & Co. v. Wells
                                                                         25   Fargo Exp. Co., 556 F.2d 406, 423 (9th Cir. 1977).          The Ninth
                                                                         26   Circuit did not find that the plaintiffs in its case had alleged
                                                                         27   that the defendant would have conducted and controlled operations
                                                                         28   in America absent a subsidiary.       Id.   The court found insufficient



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                                                                               Case 3:07-cv-05944-JST Document 2252 Filed 12/11/13 Page 9 of 17




                                                                          1   the plaintiff's allegations that the defendant held stock, directly
                                                                          2   or indirectly, in an American subsidiary, and that the defendant
                                                                          3   stated in an annual report that its "US unit" would expand the
                                                                          4   defendant's marketing network and produce more valuable products in
                                                                          5   the United States.
                                                                          6        In a more recent case, Bauman v. DaimlerChrysler Corp., 644
                                                                          7   F.3d 909, 914-15 (9th Cir. 2011), cert granted, 133 S. Ct. 1995
                                                                          8   (Apr. 22, 2013), the Ninth Circuit found general jurisdiction
                                                                          9   because the foreign defendant had a complex "General Distributor
                                                                         10   Agreement" with its American subsidiary.        That Agreement gave the
                               For the Northern District of California
United States District Court




                                                                         11   defendant almost complete control over its subsidiary's activities.
                                                                         12   Id. at 914-15, 920-21.     The Bauman Court also found that since the
                                                                         13   United States market was 19 percent of defendant's worldwide sales,
                                                                         14   the defendant "could not afford to be without a U.S. distribution
                                                                         15   system," the activities of its United States subsidiary were so
                                                                         16   important that the defendant would have found a way to have those
                                                                         17   activities performed if its subsidiary did not exist.           Id. at 922.
                                                                         18   Under those circumstances, any United States affiliate of the
                                                                         19   defendant -- whether it was a subsidiary or a non-subsidiary --
                                                                         20   would have been a representative of the defendant for purposes of
                                                                         21   the agency test.    Id.
                                                                         22        Defendant accordingly argues that Plaintiffs' allegations are
                                                                         23   directly controverted by the Cadieux Declaration, and that
                                                                         24   Plaintiffs' pleadings are too vague and general to establish a
                                                                         25   prima facie case that Thomson Consumer was Defendant's agent.
                                                                         26   Reply at 9-10.     Defendant then argues that Plaintiffs are wrong
                                                                         27   that Thomson Consumer was so important to Defendant that Defendant
                                                                         28   would have undertaken CRT sales and marketing in the United States



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                                                                              Case 3:07-cv-05944-JST Document 2252 Filed 12/11/13 Page 10 of 17




                                                                          1   absent its relationship with Thomson Consumer.         Id. at 10.
                                                                          2   According to Defendant, its status as a holding company -- as
                                                                          3   opposed to a manufacturer, like the defendant in Bauman -- means
                                                                          4   that it could simply hold a different type of company as an
                                                                          5   investment, contradicting any argument that Thomson Consumer was so
                                                                          6   important to Defendant that Defendant would have done Thomson
                                                                          7   Consumer's work itself if Thomson Consumer were not Defendant's
                                                                          8   subsidiary.   Reply at 10 (citing Unocal, 248 F.3d at 929
                                                                          9   (suggesting that imputing a subsidiary's jurisdictional conducts to
                                                                         10   the parent would be improper where a holding company could simply
                               For the Northern District of California
United States District Court




                                                                         11   hold another type of subsidiary)).        Finally, Defendant claims that
                                                                         12   Thomson Consumer's CRT manufacturing business was not sufficiently
                                                                         13   important to Defendant since Thomson Consumer sold its United
                                                                         14   States-based CRT plants and its CRT business in 2005.          Id. (citing
                                                                         15   Compl. ¶ 73).
                                                                         16        Plaintiffs' facts and allegations about Defendant's
                                                                         17   relationship with Thomson Consumer are inconclusive under both
                                                                         18   Unocal and Bauman.
                                                                         19        First, the Court finds that the fact that some of Defendant's
                                                                         20   executives served on Thomson Consumer's board or even shared office
                                                                         21   space with Thomson Consumer, without more, does not establish
                                                                         22   enough involvement in Thomson Consumer to treat that entity as
                                                                         23   Defendant's agent.    The Ninth Circuit has found that the latter
                                                                         24   activities do not necessarily lead to a finding of agency, and
                                                                         25   Plaintiffs' facts do not push Defendant's relationship with Thomson
                                                                         26   Consumer over the line into an agency relationship.          See Unocal,
                                                                         27   248 F.3d at 926-27.
                                                                         28        Further, the Court does not find Plaintiffs' allegations



                                                                                                                   10
                                                                              Case 3:07-cv-05944-JST Document 2252 Filed 12/11/13 Page 11 of 17




                                                                          1   regarding job titles to be sufficient in this case.          Even resolving
                                                                          2   this factual dispute in Plaintiffs' favor, the Court finds that the
                                                                          3   job titles given -- e.g., "Senior Executive Vice President[s] of
                                                                          4   Operations Coordination" -- do not, without more, suggest actual
                                                                          5   involvement in Thomson Consumer's activities.         They are too vague.
                                                                          6        Finally, the Court finds that the remaining facts Plaintiffs
                                                                          7   cite in support of their contention that Defendant is not only a
                                                                          8   holding company and that Thomson Consumer is Defendant's agent do
                                                                          9   not support the conclusion that Plaintiffs have made a prima facie
                                                                         10   case for general jurisdiction.      The facts Plaintiffs cite are
                               For the Northern District of California
United States District Court




                                                                         11   mostly references to Defendant's work either in general or with
                                                                         12   other parties.   In any event, they do not directly controvert
                                                                         13   Defendant's declaration that -- at least as to Thomson Consumer --
                                                                         14   Defendant was merely a majority shareholder, not a controlling
                                                                         15   corporation.   Even if the Court considers the significance of the
                                                                         16   United States CRT market to Defendant, the Court cannot find from
                                                                         17   the facts on record that Thomson Consumer is Defendant's agent, or
                                                                         18   that they have the kind of synergistic relationship that would
                                                                         19   warrant linking the two companies for jurisdictional purposes.         See
                                                                         20   Chan, 39 F.3d at 1406.     The fact that some of Defendant's executive
                                                                         21   officers appear to have worked in Thomson Consumer's office during
                                                                         22   the relevant period cuts closer, but on balance and resolving
                                                                         23   disputes in Plaintiffs' favor, the Court does not find that these
                                                                         24   connections are close enough to warrant finding that Thomson
                                                                         25   Consumer is Defendant's agent.
                                                                         26        The Court therefore finds that Plaintiffs have failed to meet
                                                                         27   their burden of showing that general jurisdiction is appropriate.
                                                                         28   However, as explained below, the Court finds that jurisdictional



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                                                                              Case 3:07-cv-05944-JST Document 2252 Filed 12/11/13 Page 12 of 17




                                                                          1   discovery is appropriate on this issue and the matter of specific
                                                                          2   jurisdiction.
                                                                          3        B.   Specific Jurisdiction
                                                                          4        If a finding of general jurisdiction is inappropriate, a court
                                                                          5   may still exercise specific personal jurisdiction depending on "the
                                                                          6   nature and quality of the defendant's contacts in relation to the
                                                                          7   cause of action."    Data Disc, 557 F.2d at 1287.       The Ninth Circuit
                                                                          8   applies a three-prong test when analyzing a claim of specific
                                                                          9   jurisdiction:
                                                                         10
                               For the Northern District of California
United States District Court




                                                                                   (1) The non-resident defendant must purposefully
                                                                         11        direct his activities or consummate some transaction
                                                                                   with the forum or resident thereof; or perform some
                                                                         12        act by which he purposefully avails himself of the
                                                                                   privilege of conducting activities in the forum,
                                                                         13        thereby invoking the benefits and protections of its
                                                                                   laws;
                                                                         14
                                                                                   (2) the claim must be one which arises out of or
                                                                         15        relates to the defendant's forum-related activities;
                                                                                   and
                                                                         16
                                                                                   (3) the exercise of jurisdiction must comport with
                                                                         17        fair play and substantial justice, i.e. it must be
                                                                                   reasonable.
                                                                         18
                                                                         19   Schwarzenegger, 374 F.3d at 802.      The plaintiff bears the burden of
                                                                         20   satisfying the first two prongs, and if he or she fails to satisfy
                                                                         21   either, specific jurisdiction is not established.         Sher v. Johnson,
                                                                         22   911 F.2d 1357, 1361 (9th Cir. 1990).       If the plaintiff satisfies
                                                                         23   these prongs, the burden shifts to the defendant "to present a
                                                                         24   compelling case" that the exercise of jurisdiction would not be
                                                                         25   reasonable.   Burger King Corp. v. Rudzewicz, 471 U.S. 462, 477
                                                                         26   (1985).
                                                                         27        Plaintiffs argue that the Court has specific jurisdiction over
                                                                         28   Defendant because (1) Defendant purposefully directed its CRT



                                                                                                                   12
                                                                              Case 3:07-cv-05944-JST Document 2252 Filed 12/11/13 Page 13 of 17




                                                                          1   conspiracy activity at the United States and (2) Plaintiffs' claims
                                                                          2   arise out of Defendant's conspiracy activity in the United States.
                                                                          3   Plaintiffs also contend that exercising personal jurisdiction over
                                                                          4   Defendant would be reasonable.      Defendant opposes all of these
                                                                          5   points.
                                                                          6         The Ninth Circuit applies a three-part test for purposeful
                                                                          7   direction: "the defendant allegedly must have (1) committed an
                                                                          8   intentional act, (2) expressly aimed at the forum state, (3)
                                                                          9   causing harm that the defendant knows is likely to be suffered in
                                                                         10   the forum state."    Id.
                               For the Northern District of California
United States District Court




                                                                         11         When considering the first prong, "something more than mere
                                                                         12   foreseeability" of an effect in the forum state is necessary.
                                                                         13   Schwarzenegger, 374 F.3d at 805 (internal citation and quotation
                                                                         14   omitted).   And as the Ninth Circuit has warned, "the foreign-acts-
                                                                         15   with-forum-effects jurisdictional principle must be applied with
                                                                         16   caution, particularly in an international context."          Kramer Motors,
                                                                         17   Inc. v. British Leyland, Ltd., 628 F.2d 1175, 1178 (9th Cir. 1980)
                                                                         18   (internal quotations and citations omitted).
                                                                         19         Defendant argues that Plaintiffs' complaint is too vague to
                                                                         20   allege specific conduct on Defendant's part.         See Reply at 11-12.
                                                                         21   Defendant contends that Plaintiffs' references to "defendants" or a
                                                                         22   combined "Thomson" entity are insufficiently vague, and that the
                                                                         23   exhibits Plaintiffs attached to its opposition brief are similarly
                                                                         24   inconclusive as to which entity is at issue when, for example,
                                                                         25   other defendants refer to allegedly conspiratorial meetings
                                                                         26   involving "Thomson" generally.      See id. at 12 (citing Opp'n Exs. C-
                                                                         27   I).   Further, Defendant claims that Plaintiffs' allegations and
                                                                         28   evidence do not demonstrate that Defendant aimed any act at the



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                                                                              Case 3:07-cv-05944-JST Document 2252 Filed 12/11/13 Page 14 of 17




                                                                          1   United States, since Defendant has never manufactured or sold CRTs,
                                                                          2   or conducted any CRT business at all, in the United States.
                                                                          3   However, Plaintiffs maintain that Defendant participated in
                                                                          4   meetings concerning pricing and production information related to
                                                                          5   CRTs and CRT Products' market in the United States, and that
                                                                          6   Defendant's actions had a "direct, substantial, and reasonably
                                                                          7   foreseeable effect on U.S. Commerce."       See Opp'n at 18-19 (citing
                                                                          8   Compl. ¶¶ 14-15, 136, 169, 199); see also Opp'n at 3-4 nn. 2-4
                                                                          9   (citing exhibits concerning other defendants' discovery materials
                                                                         10   that reference "Thomson").
                               For the Northern District of California
United States District Court




                                                                         11        Failure to satisfy this first prong would be enough to show
                                                                         12   that Plaintiffs fail to meet the Ninth Circuit's standard for
                                                                         13   specific jurisdiction.     However, Defendant also argues that
                                                                         14   Plaintiffs fail to allege facts or submit evidence establishing
                                                                         15   that any of Defendant's acts were a but-for cause of Plaintiffs'
                                                                         16   antitrust claims.     See Reply at 13-14.     Defendant contends that
                                                                         17   Plaintiffs' argument on this point is attenuated.         Plaintiffs
                                                                         18   alleged that their claims would not have arisen absent all of the
                                                                         19   defendants' global price-fixing conspiracy and that Defendant
                                                                         20   participated in the conspiracy, so Defendant's forum-related
                                                                         21   activities were necessarily a but-for cause of Plaintiffs'
                                                                         22   antitrust injuries.    See Opp'n at 20 (citing Compl. ¶¶ 11, 27-29,
                                                                         23   72-73, 169, 287).
                                                                         24        An antitrust defendant "expressly aims" an intentional act at
                                                                         25   a forum state when its allegedly anticompetitive behavior is
                                                                         26   targeted at a resident of the forum, or at the forum itself.           See
                                                                         27   In re W. States Wholesale Natural Gas Antitrust Litig., 715 F.3d
                                                                         28   716, 743 (9th Cir. 2013).     On Plaintiffs' allegations and evidence,



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                                                                              Case 3:07-cv-05944-JST Document 2252 Filed 12/11/13 Page 15 of 17




                                                                          1   the Court cannot find that Defendant engaged in any intentional
                                                                          2   acts directed at the United States.        The Court finds Plaintiffs'
                                                                          3   allegations as to Defendant in particular are unacceptably bare and
                                                                          4   conclusory, and Plaintiffs' evidence, which often references
                                                                          5   "Thomson" generally, is similarly inconclusive.         Under these
                                                                          6   circumstances, the Court cannot find that Defendant intentionally
                                                                          7   aimed any action toward the United States, that Defendant's actions
                                                                          8   were the but-for cause of Plaintiffs' claims, and especially that
                                                                          9   exercising jurisdiction would be reasonable.
                                                                         10        Accordingly, the Court declines to exercise specific
                               For the Northern District of California
United States District Court




                                                                         11   jurisdiction over Defendant.      However, the Court finds
                                                                         12   jurisdictional discovery appropriate.
                                                                         13        C.   Jurisdictional Discovery
                                                                         14        The district court has discretion to allow a plaintiff to
                                                                         15   conduct jurisdictional discovery.         Wells Fargo & Co. v. Wells Fargo
                                                                         16   Exp. Co., 556 F.2d 406, 430 n.24 (9th Cir. 1977).         Requests for
                                                                         17   such discovery should ordinarily be granted "where pertinent facts
                                                                         18   bearing on the question of jurisdiction are controverted . . . or
                                                                         19   where a more satisfactory showing of the facts is necessary."            Id.
                                                                         20   (quotations omitted).     However, a district court need not permit
                                                                         21   discovery "[w]here a plaintiff's claim of personal jurisdiction
                                                                         22   appears to be both attenuated and based on bare allegations in the
                                                                         23   face of specific denials made by the defendants . . . ."            Pebble
                                                                         24   Beach, 453 F.3d at 1160 (quotations omitted).         Plaintiffs argue
                                                                         25   that since the record is not fully developed on this issue, and
                                                                         26   central facts are contested, jurisdictional discovery is warranted.
                                                                         27   See Opp'n at 23-24.    They also argue that they have shown "some
                                                                         28   evidence" of jurisdiction, and that their allegations are not so



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                                                                              Case 3:07-cv-05944-JST Document 2252 Filed 12/11/13 Page 16 of 17




                                                                          1   bare as to warrant denying limited jurisdictional discovery.
                                                                          2   Defendant argues otherwise.
                                                                          3           The Court finds that jurisdictional discovery is appropriate
                                                                          4   here.    Defendant argues that Thomson Consumer is not its agent, but
                                                                          5   jurisdictional discovery could discover the truth of that matter.
                                                                          6   Jurisdictional discovery could also reveal whether the "Thomson" of
                                                                          7   Plaintiffs' vague allegations and evidence is Defendant or Thomson
                                                                          8   Consumer.    Even though Plaintiffs have not made a prima facie
                                                                          9   showing of jurisdiction, their allegations and evidence are not
                                                                         10   entirely bare, and they have made a sufficient case for conducting
                               For the Northern District of California
United States District Court




                                                                         11   limited jurisdictional discovery to collect evidence related to
                                                                         12   their agency argument and Defendant's intentional conduct toward
                                                                         13   the United States.    After discovery has been completed, Defendant
                                                                         14   may again move to dismiss for lack of personal jurisdiction.
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                                                                              Case 3:07-cv-05944-JST Document 2252 Filed 12/11/13 Page 17 of 17




                                                                          1   V.   CONCLUSION
                                                                          2        As explained above, the Court DENIES Defendant's motion to
                                                                          3   dismiss for lack of personal jurisdiction WITHOUT PREJUDICE and
                                                                          4   GRANTS Plaintiffs leave to conduct jurisdictional discovery to
                                                                          5   collect evidence related to their agency argument and Defendant's
                                                                          6   intentional conduct toward the United States.         Plaintiffs are to
                                                                          7   complete discovery within sixty (60) days of this Order's signature
                                                                          8   date.
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                               For the Northern District of California
United States District Court




                                                                         11        IT IS SO ORDERED.
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                                                                         13        Dated: December 11, 2013
                                                                         14                                              UNITED STATES DISTRICT JUDGE

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